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 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-115
12                                 Plaintiff,             STIPULATION REGARDING CONTINUANCE OF
                                                          SENTENCING; ORDER
13                           v.
                                                          DATE: October 13, 2016
14   KAY LEE,                                             TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
15                                 Defendant.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for sentencing on October 13, 2016.

21          2.       By this stipulation, the parties now move to continue sentencing until October 20, 2016.

22          3.       The parties agree and stipulate that this continuance will provide both parties additional

23 time to prepare for sentencing.

24          IT IS SO STIPULATED.

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26
     Dated: October 6, 2016                                   PHILLIP A. TALBERT
27                                                            Acting United States Attorney
28
                                                              /s/ MATTHEW M. YELOVICH
      STIPULATION AND ORDER REGARDING CONTINUANCE         1
            Case 2:15-cr-00115-TLN Document 121 Filed 10/07/16 Page 2 of 2

                                                         MATTHEW M. YELOVICH
 1                                                       Assistant United States Attorney
 2

 3 Dated: October 6, 2016                                /s/ GREGORY FOSTER
                                                         GREGORY FOSTER
 4
                                                         Counsel for Defendant
 5                                                       KAY LEE

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 7
                                                   ORDER
 8
          IT IS SO ORDERED this 7th day of October, 2016.
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                                                   THE HONORABLE TROY L. NUNLEY
13                                                 UNITED STATES DISTRICT JUDGE

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     STIPULATION AND ORDER REGARDING CONTINUANCE     2
